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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 91
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                                          UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF RHODE ISLAND



              STATE OF NEW YORK; et al.,

                               Plaintiffs,

                      v.                                              C.A. No. 1:25-cv-00039-JJM-PAS

              DONALD TRUMP, in his official capacity as
              President of the United States; et al.,

                               Defendants.



                                     DECLARATION OF DREW ROYBAL-CHAVEZ
                             I, Drew Roybal-Chavez, declare as follows:
                     1.      I am a resident of the State of New Mexico. I am over the age of 18 and have

            personal knowledge of all the facts stated herein, except to those matters stated upon information

            and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

            testify competently to the matters set forth below.

                     2.      I am currently employed by the New Mexico Office of Broadband Access &

            Expansion as Administrative Services Division Bureau Chief.

                     3.      The Office of Broadband Access and Expansion (“OBAE”) is responsible for

            achieving enterprising, affordable broadband solutions that will elevate the quality of life for

            everyone in the State.

                     4.      As ASD Bureau Chief I am responsible for overall financial and budgetary

            management of state and federal funds awarded to the OBAE.

                     5.      OBAE has a current operating budget of $981,192,799.84. This includes our

            operating budget of $3,308,700 which is awarded with state funds, $20,048,000 of capital

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            infrastructure funds, and grant programs totaling $958,106,099.84. These grant funds are funded

            as follows:

                                  a. American Rescue Plan Act (APRA): $123,066,812 of federal funds

                                      administered by the Department of Treasury;

                                  b. Broadband Equity, Access & Deployment (BEAD): $675,372,312 of

                                      federal funds administered by the National Telecommunication and

                                      Information Administration (NTIA);

                                  c. Digital Equity Planning and Capacity Grant (PINON): $8,673,975.84 of

                                      federal funds administered by the NTIA;

                                  d. Congressional Funding for Workforce Development: $1,993,000 of

                                      federal funds administered by the Department of Labor; and

                                  e. Connect New Mexico: $100,000,000 of state funds; and

                                  f. Broadband Strategic Planning: $25,000,000 of state funds.

                     6.      The federal funds are used to implement OBAE’s goal to ensure that all New

            Mexicans have the opportunity to adopt the internet at home, in an office, in a community

            institution, or through a mobile device. Specifically:

                                  a. APRA: The ARPA funds provided to New Mexico foster socioeconomic

                                      progress by providing infrastructure grants for broadband deployment to

                                      unserved and underserved communities across New Mexico, including

                                      those impacted by wildfires and floods.

                                  b. BEAD: BEAD funding is being used to expand high-speed internet access

                                      through planning and infrastructure deployment across New Mexico

                                      unserved and underserved communities.



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                                  c. PINON: According to the U.S. Census Bureau, an estimated 19.5% of

                                      New Mexico residents report not using the internet. Key adoption

                                      challenges include lack of device ownership, affordability, and lack of

                                      digital skills. The PINON grant will support programs that bridge this

                                      digital divide.

                                  d. Congressional Funding for Workforce Development: These funds are

                                      being utilized to procure a mobile training/education trailer, which will

                                      enable OBAE and partner schools to provide the necessary hands-on

                                      technical training in fiber splicing throughout the state.

                     7.      The Federal Communications Commissions (FCC) has identified 88,258

            broadband serviceable locations in New Mexico that are currently unserved, and an additional

            41,171 locations that qualify as underserved (meaning they lack access to wireline or licensed

            fixed wireless networks offering at least 100/20 Mbps). Broadband connectivity is an essential

            component to access to telehealth, education, and employment opportunities, particularly in a

            large mostly rural state.

                     8.      OBAE’s budget for this year has relied on both the state and federal funds

            outlined in paragraph 5. OBAE has made plans, opened applications for federal grant funding,

            executed grant awards and contracts, and allocated funding for staffing based on the anticipated

            receipt of Federal Funding allocated to our agency in the ARPA, BEAD, PINON, and Workforce

            Development grants.

                     9.      Any pause in our federal funding would bring about an immediate work stoppage

            on pending infrastructure projects, leading to loss of employment for those working on the

            projects, and delaying unserved communities from receiving broadband connectivity.



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                     10.     Two federal grant programs, specifically BEAD and PINON, are currently in their

            application phase. The uncertainty surrounding reimbursements is having a chilling effect on

            applicants for these programs. Smaller entities who depend on timely reimbursements throughout

            these multi-year programs may be discouraged from applying due to financial uncertainties.

                     11.     In the next several fiscal years OBAE is scheduled to receive disbursements of

            approximately $800 million. APRA funds have already been obligated, while BEAD and PINON

            funds have been appropriated, and are currently open for applications.

                     12.     OBAE submitted a reimbursement of $1,800,000 against our obligated ARPA

            funds on January 28, 2025, which was received on February 3, 2025. OBAE will be submitting

            additional reimbursements in February of 2025.

                     13.     OBAE has received conflicting information regarding the impact of the Executive

            Order and OMB Memo on our programs. It is unclear how reimbursements may or may not be

            impacted.

                     14.     When the State of New Mexico is acting as a pass-through entity for federal

            funds, it is our practice to pay the subgrantee using State funds, and then seek reimbursement

            from the appropriate federal entity. OBAE has not yet received reimbursements from the latest

            submission.

                     15.     The substantial amounts covered in the BEAD and ARPA infrastructure grant

            programs will preclude the State of New Mexico from floating these federal programs. The State

            depends upon prompt reimbursement upon proper submission. Prolonged delays in federal

            reimbursements for obligated funds may impact the State’s ability to promptly pay subgrantees.

            may impact the State’s ability to promptly pay subgrantees.




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                     16.     We continue to be concerned that the funding will again be delayed or denied

            because of the confusing and contradictory information received in the Executive Orders, OMB

            Memo, and from the administering agencies OBAE grants.

                     17.     If the federal funding is again paused, blocked, denied or delayed suddenly, it

            may lead to a work stoppage on multi-year infrastructure projects, litigation from grant

            awardees, and cause direct harm to individual households relying upon the deployment of

            broadband in their communities to access healthcare, education, and employment.



                   I declare under penalty of perjury that the foregoing is true and correct.

                             Executed on February 4, 2025, in Santa Fe, New Mexico.




                                                             _____________________________________
                                                                   Drew Roybal-Chavez
                                                             2/4/2025




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